Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 1 of 13 Page ID #:6254

                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                         Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.



  Present: The Honorable: Patricia Donahue, United States Magistrate Judge


                    Isabel Verduzco                                     N/A
                     Deputy Clerk                             Court Reporter / Recorder

          Attorney Present for Receiver:                Attorney Present for Movant:

                          N/A                                     N/A


  Proceedings:            Order Granting Non-Party City National Bank’s Motion
                          to Quash Subpoena [Dkt. No. 195]

         Before the Court is non-party City National Bank’s (“CNB”) Motion to
  Quash the Subpoena served by Receiver Michele Vives (“Receiver”) on CNB,
  in her capacity as Receiver for 1inMM Capital, LLC (“1inMM”) and certain
  affiliated entities (collectively, “1inMM Related Clients”). [Dkt. No. 195.]

        The Court has read and considered all of the documents filed [Dkt. Nos.
  195-198, 202-203] and the arguments of counsel at the hearing. For the
  reasons set forth herein, the Motion to Quash the Subpoena is granted.


  I.      Background

         On April 5, 2021, the Securities and Exchange Commission (“SEC”)
  initiated an action against 1inMM and Zachary Horwitz (“Horowitz”) alleging
  a Ponzi scheme in violation of federal securities laws. [Dkt. No. 1.] On
  January 14, 2022, at the SEC’s request, the Court appointed Michele Vives as
  permanent receiver of 1inMM and 1inMM Related Clients. [Dkt. No. 70.]
  The Receivership Order granted the Receiver “full powers of an equity
  receiver,” to identify and marshal all assets that may be available to



  CV-90 (03/15)                         Civil Minutes – General                        Page 1 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 2 of 13 Page ID #:6255

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

  compensate de-frauded investors. [Id. at 2. 1] The Receiver was given
  authority “to investigate and, where appropriate, to institute, pursue, and
  prosecute all claims and causes of action of whatever kind and nature that
  may now or hereafter exist as a result of the activities of present or past
  employees or agents of Defendant 1inMM, and its subsidiaries and affiliates.”
  [Id. at 4.]

        On February 22, 2022, the Court authorized the Receiver to retain
  Katten Muchin Rosenman LLP to assist her in discharging her duties under
  the Receivership Order. [Dkt. Nos. 71, 76.] Over the course of 2022, the
  Receiver sent five letters to CNB requesting account records of the 1inMM
  Related Clients. [Dkt. Nos. 195-1, Joshua Hamilton Declaration (“Hamilton
  Decl.”) at ¶¶ 2-7.] CNB responded by providing over 2,000 documents,
  including monthly bank statements, copies of checks, wire transfer
  information, and email communications between CNB and Horwitz,
  consisting of over 9,100 pages. [Hamilton Decl. at ¶¶ 8-9; Dkt. No. 203-2,
  Declaration of Crystal Ewell (“Ewell Decl.”) at ¶¶ 5-7.]

         On December 7, 2022, the Receiver moved for authorization to retain
  Raines Feldman LLP as conflicts counsel to advise her with respect to a
  “small number” of cases that “present legal or business conflicts for Katten.”
  [Dkt. Nos. 156; 156-2.] On January 3, 2023, the Court granted the motion
  authorizing Raines Feldman, upon the Receiver’s instruction, to “pursue a
  claim or cause of action in connection with a Conflict Matter.” [Dkt. No. 166
  at 3.]

       On January 11, 2023, after CNB refused to enter into a tolling
  agreement, the Receiver served CNB with the Subpoena containing 122
  document requests including subparts. [Hamilton Decl. at ¶ 11, Ex. 6; Dkt.



  1
   The Court uses the page numbers inserted on the pleadings by the electronic
  docketing system.



  CV-90 (03/15)                         Civil Minutes – General                  Page 2 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 3 of 13 Page ID #:6256

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

  No. 197-1.] The requested information includes CNB’s banking policies and
  procedures and “Red Flag” alerts. [See id. at 19-21.]


          A.        The Account Agreements Between the 1inMM Related
                    Clients and CNB

        1inMM and its subsidiaries and affiliates opened and maintained
  several bank accounts with CNB from 2012 to 2019. [Dkt. Nos. 195 at 8; 195-
  9, Declaration of Michael Mallon (“Mallon Decl.”) at ¶ 2; 203-2, Ewell Decl. at
  ¶ 4.] To open each account, the 1inMM Related Client executed agreements
  acknowledging receipt of and an agreement to be bound by the terms of
  CNB’s Account Agreement and Disclosures (“Account Agreement”) and to
  further amendments or updates thereto. [Mallon Decl. at ¶¶ 2, 4-5, Dkt. Nos.
  195-10 – 195-15, 195-18 – 195-26.] The 1inMM Related Clients also agreed to
  be bound by CNB’s Treasury Management Services Disclosure and
  Agreement (“TMSDA”) with regard to any of CNB’s Treasury Management
  Services they used. [Dkt. Nos. 195-16, 195-17.]

        Since the 1inMM Related Clients began banking at CNB, they agreed
  to resolve any disputes in accordance with the alternative dispute resolution
  (“ADR”) provisions of the Account Agreement and TMSDA, as applicable.
  [Mallon Decl. at ¶¶ 2-6; Dkt. Nos. 195-10 – 195-17.] In total, the 1inMM
  Related Clients executed six account opening contracts and two Treasury
  Management enrollment contracts. [Mallon Decl. at ¶¶ 4-6.] Each contract
  incorporated an agreement to be bound by the corresponding ADR provisions
  in the then-effective Account Agreement and TMSDA. [Mallon Decl. at ¶¶ 2-
  24; Dkt. Nos. 195-10 – 195-26.]

         The Account Agreement and TMSDA executed by the 1inMM Related
  Clients in August 2012 contained ADR provisions mandating that all
  “disputes” with CNB “be resolved by final and binding arbitration.” [Dkt.
  Nos. 195-18 at 59; 195-24 at 22.] The Account Agreement and TMSDA stated
  that, “[i]f the amount in dispute involves more than the jurisdictional limit of


  CV-90 (03/15)                         Civil Minutes – General                  Page 3 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 4 of 13 Page ID #:6257

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

  the small claims court with proper venue … the dispute shall be resolved by
  binding arbitration.” [Id.] The Account Agreement also provided that, “the
  arbitration, including the selection of the arbitrators, shall be administered
  by the American Arbitration Association (“AAA”) in accordance with the
  Federal Arbitration Act (Title 9, United States Code) or such Federal law as
  may be adopted hereafter and the then existing commercial arbitration rules
  of the AAA.” [Id.]

        The 2012 ADR provisions define “dispute” as “any disagreement
  between you and us that you and we are not able to resolve informally.”
  [Dkt. Nos. 195-18 at 58; 195-24 at 22.] A dispute includes “any claim or
  controversy of any kind that arises out of or is related to this Account
  Agreement and Disclosures” or the TMSDA and “includes claims based on
  broken promises or contracts, torts (injury caused by negligent or intentional
  conduct), breach of duty or any other wrongful action. It includes statutory,
  common law and equitable claims.” [Id.]

        The 2013 Account Agreement provides that all disputes with CNB “will
  be resolved” in accordance with the 2013 Account Agreement’s ADR
  provision, which defined “dispute” virtually the same as the 2012
  Agreements. [Dkt. Nos. 195-12; 195-19 at 46.] For California account
  holders such as the 1inMM Related Clients, the 2013 Account Agreement
  requires that any dispute with CNB involving amounts greater than
  $50,000 be resolved in California state court—not in federal district court—
  through California’s judicial reference program. [Id.]

         In 2016, 2019, 2020, and 2023 the Account Agreements and TMSDAs
  were updated; each of them requires ADR. [Dkt. Nos. 195-20 at 50-51; 195-21
  at 19; 195-22 at 19; 195-23 at 19-20.]
          B.        The Motion to Quash

        CNB contends that: (1) as CNB clients, 1inMM and the 1inMM Related
  Clients contracted to resolve any disputes or claims with CNB solely in


  CV-90 (03/15)                         Civil Minutes – General                  Page 4 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 5 of 13 Page ID #:6258

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

  accordance with binding ADR provisions; (2) the Receiver, who was appointed
  to act on behalf of one or more 1inMM Related Clients, is bound by contracts
  entered into by the 1inMM Related Clients, including their contracts with
  CNB; and (3) the Receiver may not propound discovery on CNB through a
  federal subpoena because no such discovery is authorized under the agreed-
  upon alternative dispute resolution. [Dkt. No. 195.]

        The Receiver argues that there is no underlying dispute; the Receiver
  does not stand in the shoes of Horwitz or MJLZ Trust; legal process,
  including a subpoena, is excepted from ADR provisions; there is no evidence
  of assent to arbitration provisions; the subpoena is unrelated to the TMSDAs;
  multiple courts have declined to compel a receiver to arbitrate; and judicial
  economy and equity conflict with arbitration. [Dkt. No. 202.]

        CNB replies that the Receiver has raised a dispute with it; the specific
  documents requested by the Receiver are irrelevant to her duty to abide by
  her ADR obligations; the legal process clause does not impact the ADR
  provisions; none of the ADR provisions allow discovery in federal court; and
  the Receiver’s request to reject the 1inMM Related Clients’ contracts is
  without legal basis. [Dkt. No. 203.]

  II.     Legal Standard

        In light of concern for orderly administration in cases involving
  multiple parties and complex transactions, a district court has “broad powers
  and wide discretion to determine the appropriate relief in an equity
  receivership.” See Securities and Exchange Commission v. Lincoln Thrift
  Ass'n, 577 F.2d 600, 606 (9th Cir. 1978); see S.E.C. v. Hardy, 803 F.2d 1034,
  1037 (9th Cir. 1986).
        A court may quash or modify a subpoena if the subpoena: (1) fails to
  allow a reasonable time for compliance; (2) requires a person who is not a
  party to travel more than 100 miles from where the person resides; (3)
  requires disclosure of privileged or protected matter; or (4) causes undue


  CV-90 (03/15)                         Civil Minutes – General                  Page 5 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 6 of 13 Page ID #:6259

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

  burden. Fed. R. Civ. P. 45(d)(3)(A). A party may move to quash a subpoena
  when the subpoena infringes upon the movant’s legitimate interests. See
  U.S. v. Tomison, 969 F.Supp. 587, 596 (E.D. Cal. June 30, 1997). The movant
  has the burden of persuasion under Rule 45(d)(3), but the party issuing the
  subpoena must in turn demonstrate that the discovery sought is relevant and
  material to claims in the proceedings. See Chevron Corp. v. Donziger, 2013
  WL 4536808, at *4 (N.D. Cal. Aug. 22, 2013).

  III.    Discussion

          A.        The Receiver is Bound by the ADR Provisions in the
                    1inMM Related Clients’ Account Agreements with CNB

        The Supreme Court has long held that a receiver stands in no better
  place than the receivership entity for which the receiver is appointed. See
  Deitrick v. Standard Sur. & Cas. Co. of New York, 303 U.S. 471, 479 (1938).
  A receiver does not voluntarily step into the shoes of the [receivership entity];
  the receiver is thrust into those shoes and “any defense good against the
  [receivership entity] is good against the receiver.” See F.D.I.C. v. O’Melveny
  & Myers, 61 F.3d 17, 19 (9th Cir. 1995). Generally, a receiver “has capacity
  to bring only such actions as could have been brought by the entity or
  individual whose property is in a receivership, and thus may sue only to
  redress injuries to the entity in [the] receivership.” Mosier v. Stonefield
  Josephson, Inc., 815 F.3d 1161, 1166 (9th Cir. 2016).
         Receivers are bound by the contractual commitments made by the
  entities for whom they act. See Sharp v. Duff & Phelps, LLC, No. CV 20-
  8069-DSF (MRWx), 2021 WL 8154951, at *1 (C.D. Cal. Jan. 28, 2021) (court-
  appointed receiver stands in the shoes of the receivership entity and is bound
  by the terms of its contract). The 1inMM Related Clients entered into
  multiple Account Agreements and TMSDAs with CNB that contained binding
  arbitration agreements. [Mallon Decl. at ¶¶ 2-24; Dkt. Nos. 195-10 through
  195-26.] They are bound by the mandatory ADR provisions that preclude
  them from litigating any disputes, controversies, or disagreements with CNB


  CV-90 (03/15)                         Civil Minutes – General                  Page 6 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 7 of 13 Page ID #:6260

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

  in federal court. [Id.] The Receiver stands in their shoes and is equally
  bound by these arbitration agreements, which were in place prior to the
  Receiver’s appointment, even though she did not sign them or manifest
  assent. Absent defenses including in pari delicto, which the Receiver does
  not allege, a receiver is subject to the terms the receivership entity
  contracted. See F.D.I.C., 61 F.3d at 19.

         The Receiver cites Winkler v. McCloskey, No. CV 21-5757-FMO
  (AFMx), 2022 WL 4355308 (C.D. Cal. Sept. 6, 2022) 2 in support of her
  argument that she is not bound by the arbitration agreements. Winkler, like
  the instant case, is ancillary to an SEC enforcement action in which the court
  appointed a receiver for defendants alleged to have operated a Ponzi scheme.
  The third parties sued by the receiver moved to compel arbitration based on
  their arbitration agreements with the receivership entities. The district court
  denied the motion based on In re EPD Inv. Co, LLC, 821 F.3d 1146 (9th Cir.
  2016). Winkler, 2022 WL 4355308, at * 3. In re EPD, 821 F.3d at 1148-49,
  involved a Ponzi scheme in which a bankruptcy trustee brought claims to
  avoid fraudulent transfers under federal and state law against the debtors’
  attorney and related trust, who sought to compel arbitration based on their
  arbitration agreements with the debtors. The Ninth Circuit affirmed the
  district court’s denial of the motion to compel arbitration, first explaining
  that because the cause of action brought by the trustee was a “core
  bankruptcy proceeding,” the bankruptcy court had discretion to weigh
  competing bankruptcy and arbitration interests at stake in determining
  whether to compel arbitration. Id. at 1150-51. Arbitration may be denied in
  order to efficiently keep all bankruptcy matters together in the bankruptcy
  court and protect against “piecemeal litigation.” Id.; See 28 U.S.C. § 157.

        The court then explained why the bankruptcy trustee was not bound by
  the arbitration agreements:


  2 This case is on appeal to the Ninth Circuit.
                                            Winkler v. McCloskey, Court of Appeal
  Docket 22-55856. It was argued and submitted on July 18, 2023.


  CV-90 (03/15)                         Civil Minutes – General                  Page 7 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 8 of 13 Page ID #:6261

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

          The Trustee brought fraudulent transfer claims under 11 U.S.C.
          §§ 544 and 548, and California Civil Code section 3439.04.
          [Debtors’ counsel] asserts that all of these claims are subject to
          the arbitration agreements that he signed with the debtors. But,
          under § 544, the Trustee is empowered only to bring claims that
          might be brought “by a creditor holding an unsecured claim.” 11
          U.S.C. § 554(b)(1). And California Civil Code section
          3439.04(a)(1) permits a creditor to bring a claim for fraudulent
          transfer that a debtor made with intent to hinder, delay, or
          defraud a creditor of the debtor. For the purpose of these claims,
          the Trustee stands in the shoes of the creditors, not the debtors.
          Only the parties to an arbitration agreement are bound by it.
          Mitsubishi Motors Corp. v. Soler Chrysler–Plymouth, Inc., 473
          U.S. 614, 625, 105 S. Ct. 3346, 87 L.Ed.2d 444 (1985). The
          creditors did not sign the arbitration clauses at issue here. As a
          result, arbitration agreements signed by the debtors cannot apply
          to claims under § 544 or California Civil Code section 3439.04.
          See Allegaert v. Perot, 548 F.2d 432 (2d Cir.1977) (so holding). As
          to these claims, then, the court had no discretion to allow
          arbitration.

          Id. at 1152 (emphasis added).

        In Winkler, 2022 WL 4355308, at * 3, the court stated that the In re
  EPD holding is not limited to the authority of a bankruptcy trustee as defined
  by the Bankruptcy Code, because the Ninth Circuit addressed the fraudulent
  transfer claims under both federal bankruptcy law and California law and
  held that since “[t]he creditors did not sign the arbitration clause at issue,”
  the ”arbitration agreements signed by the debtors cannot apply to claims
  under [11 U.S.C.] § 544 or California Civil Code [§] 3430.04.” Id. (citing In re
  EPD, 821 F.3d at 1152.).

       However, the Winkler court did not address the predicate – that the
  bankruptcy trustee stands in the shoes of the creditors, not the debtors. The


  CV-90 (03/15)                         Civil Minutes – General                  Page 8 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 9 of 13 Page ID #:6262

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


  Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

  equity receiver in this case stands in the shoes of the receivership entities –
  not of their creditors. As discussed above, it is well established that “[a]
  receiver occupies no better position than that which was occupied by the
  person or party for whom he acts . . . and any defense good against the
  original party is good against the receiver.” F.D.I.C., 61 F.3d at 19. See Gill
  v. Blessing, No. SACV 13-0132-AG (JPRx), 2014 WL 12573667, at *3 (C.D.
  Cal. Oct. 6, 2014) (court-appointed receiver in Ponzi scheme action brought
  by SEC stands in the shoes of the receivership entities, not other creditors).
  The Receiver does not point to any statute equivalent to 11 U.S.C. § 544(b)(1)
  that authorizes equity receivers to step into the shoes of the receivership
  entities’ creditors and pursue claims on their behalf. See Mosier v. HSBC
  Bank USA, N.A., No. CV 10-3669-PSG(Ex), 2010 WL 5422550, at *4 (C.D.
  Cal. Dec. 28, 2010) (finding no basis in federal receiver statute, 28 U.S.C.
  § 754 to support the view that appointment of a federal receiver may negate
  terms of a contract entered by the receivership entity). “[T]he authority of a
  court-appointed receiver is defined by the entity or entities in the
  receivership.” Id. In sum, the Receiver is bound by the 1inMM Related
  Client’s Agreements to arbitrate disputes or claims arising from their
  Account Agreements and TMSDAs with CNB.
         The Receiver argues that she does not stand in Horwitz’s or MJLZ
  Trust’s shoes and thus is not bound by any ADR provision. [Dkt. No. 202 at
  5, 9.] CNB responds that the Receiver subpoenaed CNB as the permanent
  receiver of “1inMM Capital, LLC … and its subsidiaries and affiliates,” whose
  sole relationship with CNB is that of a bank and clients who have agreed to
  resolve their disputes through ADR. As such, the Receiver is permitted to
  conduct discovery only on behalf of the receivership entities and must comply
  with those entities’ mandatory ADR agreements. [Dkt. No. 203 at 6.] The
  Receiver’s claim that she does not act for Horowitz or MJLZ Trust, for which
  she also requested documents, does not change that result because they both
  executed binding ADR agreements. [Mallon Decl. at ¶ 4, Dkt. Nos. 195-15,
  195-19.] See McIntire v. China MediaExpress Holdings, Inc., 252 F. Supp. 3d
  328, 331 (S.D.N.Y. 2017) (“The [SEC] Receiver, because he stands in CCME’s
  shoes, does not have a subpoena power that exceeds that of CCME. … The


  CV-90 (03/15)                         Civil Minutes – General                  Page 9 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 10 of 13 Page ID #:6263

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


   Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

   Special Receiver may not use his status as a court-appointed Special Receiver
   to flout the primacy of the arbitrator or to get a head-start on pursuing
   discovery of the claims that are subject to arbitration.”) Like the receiver in
   McIntire, the Receiver here does not have discovery powers or rights greater
   than those of any 1inMM Related Client on whose behalf she purports to act. 3


           B.        The ADR Provisions are Triggered Because a Dispute is
                     Raised

         The FAA reflects a liberal and emphatic federal policy favoring
   alternative dispute resolution. See KPMG LLP v. Cocchi, 565 U.S. 18, 21
   (2011); see also AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011)
   (The FAA reaffirms the “fundamental principal that arbitration is a matter of
   contract.”). Under the FAA, a court’s role is strictly limited to determining
   arbitrability and enforcing agreements to arbitrate, leaving the merits of the
   claim and any defenses to the arbitrator. Chiron Corp. v. Ortho Diagnostic
   Systems, Inc., 207 F.3d 1126, 1131 (9th Cir. 2000). An agreement to arbitrate
   is a matter of contract and courts must look to the express contract terms.
   See id. at 1130. Parties that agree to be governed by the American
   Arbitration Association in a dispute demonstrate clear and unmistakable
   intent to arbitrate arbitrability. See Brennan v. Opus Bank, 796 F.3d 1125,
   1130 (9th Cir. 2015). A contract requiring judicial reference is no different.
   See Carr Bus. Enter., Inc. v. City of Chowchilla, 166 Cal. App. 4th 25, 28
   (2008) (“A judicially ordered reference to alternative dispute resolution
   pursuant to section 638 is a matter of contract between the parties.”).



   3 When contracting parties stipulate that disputes will be submitted to arbitration,

   “they relinquish the right to certain procedural niceties which are normally
   associated with a formal trial” such as the right to pre-trial discovery. See Portfolio
   Hotels, LLC v. 1250 N. SD, LLC, No. CV 21-314-BAS (MSB), 2021 WL 4124224, at
   *7 (S.D. Cal. Sept. 9, 2021) (quoting Burton v. Bush, 614 F.2d 389, 390 (4th Cir.
   1980)).


   CV-90 (03/15)                         Civil Minutes – General                 Page 10 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 11 of 13 Page ID #:6264

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


   Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

          Courts frequently compel to arbitration, claims brought by receivers
   who stand in the shoes of receivership entities that are bound by an
   agreement to arbitrate. See, e.g., Seaman v. Priv. Placement Cap. Notes II,
   LLC, No. CV 16-00578-BAS (DHB), 2017 WL 1166336, at *4, *7 (S.D. Cal.
   Mar. 29, 2017) (granting motion to compel SEC receiver to arbitrate
   fraudulent transfer claim based on receivership entity’s agreement to
   arbitrate); Capitol Life Ins. Co. v. Gallagher, 47 F.3d 1178, 1995 WL 66602,
   at *2 (10th Cir. 1995) (“It is further undisputed that Gallagher, as GSL’s
   receiver, may be compelled to arbitrate because a receiver ‘stands in the
   shoes’ of the insolvent insurance company.” (emphasis in original)); U.S.
   Small Business Admin. v. Coqui Capital Mgmt., LLC, 2008 WL 4735234, at
   *2 (S.D.N.Y. Oct. 7, 2008) (unpublished) (“[A] receiver’s ability to litigate
   claims in federal court is limited by any valid agreement, previously executed
   by the receivership entity, that mandates arbitration.”); Moran v. Svete, 366
   F. App’x 624, 630 (6th Cir. 2010) (Receiver is bound to arbitrate to the same
   extent that party would have been absent the appointment of a receiver).
          Any claim by the Receiver against CNB would necessarily relate to the
   services CNB rendered to the 1inMM Related Clients. Those services are all
   governed by the Account Agreements and TMSDAs between CNB and the
   1inMM Related Clients. The Receiver “steps into the shoes” of the 1inMM
   Related Clients and assumes all their rights and obligations — including
   their obligation to resolve their disputes with CNB in accordance with the
   mandatory ADR provisions. See Eberhard v. Marcu, 530 F.3d 122, 132 (2nd
   Cir. 2008) (“[T]he authority of a [SEC] receiver is defined by the entity or
   entities in the receivership. [T]he plaintiff in his capacity of receiver has no
   greater rights or powers than the corporation itself would have.” (internal
   quotations omitted)). Once the moving party has met this initial burden to
   show that the agreement exists and that its terms bind the other party, the
   party opposing arbitration bears the burden of establishing that the
   arbitration agreement does not apply. See Bernsley v. Barclays Bank Del.,
   No. CV 22-7592-SVW (MAA), 2023 WL 2291251, at *2 (C.D. Cal. Feb. 24,
   2023).



   CV-90 (03/15)                         Civil Minutes – General                 Page 11 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 12 of 13 Page ID #:6265

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


   Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

         The Receiver argues that the Subpoena does not trigger the ADR
   provisions because “there is no present or actual dispute between the
   Receiver and CNB [and] CNB’s fear of a future dispute is not a legitimate
   basis for CNB to evade the Subpoena.” [Dkt. No. 202 at 10.] CNB responds
   that all of the ADR provisions in the Account Agreements and TMSDAs
   broadly define the disputes subject to ADR to include “any disagreement,”
   “any claim or controversy of any kind” including “statutory, common law and
   equitable claims,” and are not limited to lawsuits. [Dkt. Nos. 195 at 10-12;
   195-10 – 195-17; 203 at 4.] The Receiver has retained conflicts counsel to
   pursue “potential claims” on a “small number of cases” where her prior
   counsel has a conflict, indicating that the Receiver may currently be adverse
   to CNB. [Dkt. Nos. 203 at 4; 156.] The Receiver’s new conflicts counsel
   before serving the Subpoena, informed CNB’s counsel that the Receiver was
   conducting an investigation, requested that CNB enter into a tolling
   agreement, and notified CNB of its obligation to preserve “all documents,
   records, and things relating to the 1inMM and Horwitz accounts.” [Dkt. No.
   203 at 5; Hamilton Decl., Ex. 6.] Further, the Receiver’s invoices reflect
   research into potential claims against CNB. [Dkt. No. 203-1, Jamie Marr
   Declaration (“Marr Decl.”) at ¶ 4, Ex. 4.] Additionally, the documents
   requested in the Subpoena suggest that the Receiver seeks information
   regarding whether CNB had knowledge of, or was complicit in, the Ponzi
   scheme – in other words, that the Receiver is investigating potential claims
   against CNB. Consequently, there is a dispute between the Receiver and
   CNB, such that the ADR provisions apply.

         The Receiver further argues that legal process (a subpoena) is excepted
   from the ADR provisions. [Dkt. No. 202 at 6.] CNB responds that the
   Account Agreements’ recognition that CNB “may accept and comply with
   legal process” initiated by a non-client is irrelevant to whether CNB is
   obligated to respond to a Subpoena served by a client who agreed to ADR.
   [Dkt. No. 203 at 7.] The Court agrees with CNB. The parties’ arbitration
   agreements are not waived or invalidated by the “legal process” provisions in
   the Account Agreements.



   CV-90 (03/15)                         Civil Minutes – General                 Page 12 of 13
Case 2:21-cv-02927-CAS-PD Document 250 Filed 08/11/23 Page 13 of 13 Page ID #:6266

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No. 2:21-cv-2927-CAS-PDx                                   Date: August 11, 2023


   Title           Securities and Exchange Commission v. Zachary J. Horwitz, et al.

         The Receiver cites Sifuentes v. Dropbox, Inc., No. CV 20-07908-HSG,
   2022 WL 2673080, at *4 (N.D. Cal. June 29, 2022) in support of her argument
   that CNB did not provide evidence that any account holder assented to an
   applicable arbitration provision. [Dkt. No. 202 at 13.] The court in Sifuentes
   denied a motion to compel arbitration where defendant failed to show that
   the user had notice of the later terms of service, which added an arbitration
   provision. Unlike Sifuentes, the 1inMM Related Clients at all relevant times
   were bound by a mandatory ADR provision. While CNB occasionally updated
   the ADR provisions in the Account Agreements and TMSDAs, each of them
   requires ADR. [Mallon Decl. at ¶¶ 2-24; Dkt. Nos. 195-10 – 195-26.]


   IV.     Conclusion

        For the reasons stated above, CNB’s Motion to Quash the Subpoena is
   granted.


           IT IS SO ORDERED.:




   CV-90 (03/15)                         Civil Minutes – General                 Page 13 of 13
